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EXHIBIT 2
Case 3:08-cv-00441-TLM Document 177-2 Filed 07/22/10 Page 2 of 4

Weiner, Robert _

- From: - Bae, Jean

- Sent: Wednesday, April 15, 2009 11:51 AM
_ “Fo: hfetner@daypitney.com
Ce: fispringer@daypitney.com; igrudberg@jacobslaw.com; Weiner, Robert; Kratenstein, Andrew

Search Term List
DGProposedSearchT erms041509. pdf

 

soon.

Jean
Case 3:08-cv-00441-TLM Document 177-2 Filed 07/22/10 Page 3 of 4

4/15/2009

Dongguk y. Yale: Proposed Search Term List for Dongguk’s ESI

 

 

“| English | Korean
. *Shin Jeong Ah” or “Jeong Ah Shin” or “Shin | 414 o}
| | Jeong-Ab” or “Jeong-Ah Shin”

| “Jeong Ah” “or Jeong-Ah” Alo}
“Professor Shin” Al aS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

shindarc@hanmail.net shindarc@hanmail.net
Yale of] @]

Kansas Map

Myoung Lee o]y

Schirmeister or Schirmeistr Ad apo] AE]

Camey WY

Reinstein FIZE or FUAGM
Levin #8

Emerson qe

Butler Sz)

Barnaby BRU BY]

Mehring al

Ostroff QAEex

“Byeon Yang Kyun” or “Yang Kyun Byeon” w OFSt

or “Byeon Yang-Kyun” or “Yang-Kyun

Byeon”

“Yang Kyun” or “Yang-Kyun” Sa

“Lim Yong Taek” or “Yong Taek Lim” or 9] 2

 

 
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“Lim Yong-Taek” or “Yong-Taek Lim” or “Im
| Yong-Taik” or “Yong-Taik Im”

 

 

$a
“Yong Taek”or “Yong-Taek” or “Yong-Taik”
“Im Yong Taik” or “Yong Taik Im” or “Yong
_. | Taik”

cde o. | 8 eH

"| “Young Bae”
“Hong Ki Sam” or “Ki Sam Hong” or “Hong =| -& 7] 4}
Ki-Sam” or “Ki-Sam Hong”
“Ki Sam” or “Ki-Sam” 7\ At
“Jang Yoon” or “Yoon Jang” or “Chang Yoon” | 4}-#-

or “Yoon Chang”

 

(degree or credential or Ph.D.) and (forge or
| forgery or fake or falsify or falsification)

(34) or S44 or BAR) and (74 or 4S
or 39] or AA)

 

(dissertation or thesis) and (plagiarize or
plagiarism)

<# and Fa

 

 

“Guillaume Apollinaire: Catalyst for
Primitivism, for Picabia and Duchamp”

 

Ae FETE OST, Troy y
HFS AW Sopor “71S FS eylZ:

HY 7H Obs} HARSH St Alo] 2] Say”

 

 
